    Case: 4:22-cv-00254-NCC Doc. #: 29 Filed: 05/25/22 Page: 1 of 3 PageID #: 117




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI

                                        EASTERN DIVISION


OLUWAKEMI ADEWOL, KEISHA
JACKSON, and JEMILAT SULEIMAN on
behalf of themselves and all others similarly
situated,

                          Plaintiffs,
                                                    Case No. 4:22-cv-00254-NCC
v.

FRICKENSCHMIDT FOODS, LLC and
WICKED CUTZ, LLC,

                          Defendants.

                    DEFENDANT FRICKENSCHMIDT FOODS, LLC’S
                      MOTION TO EXCEED PAGE LIMITATION

        Comes Now, Defendant Frickenshcmidt Foods, LLC (hereinafter “Frickenschmidt”), by

and through its undersigned attorneys, and respectfully submit this Motion to Exceed Page

Limitation pursuant to Local Rule 4.01(D), and in support thereof state the following:

        1.     On March 12, 2022, Plaintiffs filed their six Count First Amended Class Action

Complaint (hereinafter referred to “FACAC”) against Frickenschmidt and Defendant Wicked

Cutz, LLC. Doc 5.

        2.     The FACAC alleges that Frickenschmidt and Defendant Wicked Cutz, LLC

violated multi-state consumer protection acts, naming at least twelve states within their “Multi-

State Consumer Class” Count I. 1 The FACAC also alleges that the defendants injured a




1
 These include the states of California, Florida, Illinois, Maryland, Massachusetts, Michigan,
Minnesota, Missouri, New Jersey, New York, Pennsylvania, Oregon and Washington. Doc. 5,
 Case: 4:22-cv-00254-NCC Doc. #: 29 Filed: 05/25/22 Page: 2 of 3 PageID #: 118




Nationwide Class, by breaching an express warranty, breaching an implied warranty of

merchantability and by becoming unjustly enriched. (Doc. 5, Counts IV-VI).

       3.      On May 3, 2022, Frickenschmidt was served with the FACAC.

       4.      On May 18, 2022, Frickenschmidt filed a Motion for Extension of Time to File a

Response to Plaintiffs’ Complaint or Otherwise Plead. Doc. 26.

       5.      Plaintiffs’ filed a response in opposition on May 19, 2022. Doc. 27.

       6.      This Court has yet to enter an Order regarding Frickenschmidt’s motion for

extension of time.

       7.      This is a complicated class action suit with complicated issues that

Frickenschmidt would like to raise, including federal preemption, pre-suit notice pursuant to

U.C.C. §2-607(3)(a), and federal common law to name a few.

       8.      Given these issues concerning Plaintiffs’ FACAC, Frickenschmidt is preparing a

Motion to Dismiss First Amended Class Action Complaint and Strike Allegations or, In the

Alternative, Motion for a More Definite Statement.

       9.      In order to fully brief the issues raised in Frickenschmidt’s Motion to Dismiss,

Frickenschmidt moves this Court to extend the page limit for its Memorandum of Law in

Support to 30 pages.

       WHEREFORE, Defendant Frickenschmidt Foods, LLC respectfully moves this Court to

enter an Order to extend the page limit of it Memorandum of Law in Support to 30 pages.


                                               Respectfully submitted,

                                               By: /s/ David C. Berwin
                                               David C. Berwin, 55046MO
                                               Evans & Dixon, L.L.C.
                                               211 North Broadway, Suite 2500
                                               St. Louis, Missouri 63102
 Case: 4:22-cv-00254-NCC Doc. #: 29 Filed: 05/25/22 Page: 3 of 3 PageID #: 119




                                              (314) 552-4046
                                              (314) 884-4446 – facsimile
                                              dberwin@evans-dixon.com
                                              Attorney for Defendant
                                              Frickenschmidt Foods, LLC


                               CERTIFICATE OF SERVICE

        I certify that on this 25th day of May, 2022 the foregoing instrument was electronically
filed with the Courts CM/ECF/PACER system, which will send electronic filing to all attorneys of
record.


/s/ David C. Berwin
